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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEBRASKA

HANNAH SABATA, et al.,                                     Case No. 4:17-cv-03107-RFR-MDN

                     Plaintiffs,                           CLASS ACTION

              v.                                           PLAINTIFFS’ NOTICE OF AND
                                                           MOTION FOR CLASS CERTIFICATION
NEBRASKA DEPARTMENT OF
CORRECTIONAL SERVICES, et al.,

                     Defendants.



              Plaintiffs Hannah Sabata, Dylan Cardeilhac, James Curtright, Jason Galle, Richard

Griswold, Angelic Norris, R.P., Isaac Reeves, Zoe Rena, and Brandon Sweetser hereby move the

court to for entry of an order pursuant to Rule 23 of the Federal Rules of Civil Procedure:

              1.     Certifying that this action is maintainable as a class action under Federal Rules of

Civil Procedure 23(a), 23(b)(1), and 23(b)(2) as to each of Plaintiffs’ causes of action;

              2.     Certifying a NDCS Class of composed of “all persons who are now, or will in the

future, be subjected to the health care (including medical, mental health and dental care) policies

and practices of NDCS” and certifying all named Plaintiffs as representatives of the NDCS

Class.

              3.     Certifying an Isolation Subclass composed of “all NDCS prisoners who are now,

or will in the future be, subject to conditions of confinement that provide limited contact with

other prisoners, strictly controlled movement while out of cell, and out-of-cell time of less than

twenty-four hours per week” and certifying named Plaintiffs Hannah Sabata, Dylan Cardeilhac,

Jason Galle, Michael Gunther, Richard Griswold, Angelic Norris, R.P., Isaac Reeves, and Zoe

Rena, as representatives of the Isolation Subclass.




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              4.     Certifying a Disability Subclass consisting of “all persons with disabilities who

are now, or will in the future be, confined at any NDCS facility” and certifying named Plaintiffs

Hannah Sabata, Dylan Cardeilhac, James Curtright, Jason Galle, Richard Griswold, Michael

Gunther, Angelic Norris, R.P., Isaac Reeves, and Brandon Sweetser, as representatives of the

Disability Subclass

              5.     Certifying counsel of record for Plaintiffs as Class Counsel for the NDCS Class

and the Isolation and Disability Subclasses.

              This motion is based on this Notice of Motion and Motion; the Memorandum of Points

and Authorities, the Evidence Index and associated documents filed and served herewith; the

pleadings and orders on file in this matter; and any oral argument or evidence permitted at any

hearings on this motion.

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              Plaintiffs request oral argument on this motion because this motion is fact intensive and

Plaintiffs believe the Court would benefit from being able to address any specific questions the

Court has regarding those facts with counsel. Plaintiffs estimate oral argument should last no

more than one hour.

Submitted February 19, 2019                     ACLU NATIONAL PRISON PROJECT
                                                ACLU OF NEBRASKA
                                                DLA PIPER LLP (US)
                                                NATIONAL ASSOCIATION OF THE DEAF
                                                NEBRASKA APPLESEED
                                                ROSEN BIEN GALVAN & GRUNFELD LLP


                                                By: /s/ Kara J. Janssen
                                                    Kara J. Janssen (Cal Bar. No. 274762)
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                                                Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2019, I electronically filed the foregoing document
with the Clerk of the United States District Court for the District of Nebraska, causing notice of
such filing to be served upon all parties registered on the CM/ECF system.


                                          By: /s/ Kara Janssen




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